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AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail



                                       UNITED STATES DISTRICT COURT
                                                                           for the

                                                    EASTERN           District of       OKLAHOMA

                   United States of America                                    )
                              v.                                               )       Case No. 21-MJ-07-KEW
                                                                               )
                   ANDREW C. ERICSON                                           )       Charging District:
                              Defendant                                        )       Charging District’s Case No. 1:21-MJ-00131


                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

       U.S. DISTRICT COURT DISTRICT OF COLUMBIA
Place: Before Judge Harvey                                                             Courtroom No.: 6 (By Zoom)
                                                                                       Date and Time:          1/29/2021 AT 1:00 pm

         The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.


Date:              1/21/2021
                                                                                                           Judge’s signature

                                                                                     KIMBERLY E. WEST, U.S. Magistrate Judge
                                                                                                        Printed name and title
